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                            UNITED STATES DISTRICT COURT
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                          CENTRAL DISTRICT OF CALIFORNIA
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 10     RADIK KARAPETYAN,                          Case No. 2:22-cv-05291-SSS (MAR)
 11                              Petitioner,
 12                        v.                      ORDER ACCEPTING FINDINGS
                                                   AND RECOMMENDATION OF
 13    J. ENGLEMAN,                                UNITED STATES MAGISTRATE
                                                   JUDGE
 14                              Respondent.
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 17          Pursuant to 28 U.S.C. § 636, the Court has reviewed the Petition, the Motion
 18    to Dismiss, the records on file, and the Report and Recommendation of the United
 19    States Magistrate Judge. No Objections have been filed. The Court accepts the
 20    findings and recommendation of the Magistrate Judge.
 21          IT IS THEREFORE ORDERED that the Motion to Dismiss is DENIED.
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 23    Dated: January 12, 2023
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                                               HONORABLE SUNSHINE S. SYKES
 25                                            United States District Judge
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